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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                           ________ Protective Order
                                                                   [Proposed]

                                v.                                              21-cr-194 (LAK)

 Rickey Johnson,
       a/k/a “Nigel Dawn Defarren,”

                                Defendant.



       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

       WHEREAS, the Government will make disclosure to the defendant of documents, objects

and information, including electronically stored information (“ESI”), pursuant to Federal Rule of

Criminal Procedure 16, 18 U.S.C. § 3500, and the Government’s general obligation to produce

exculpatory and impeachment material in criminal cases, all of which will be referred to herein as

“Disclosure Material”;

       WHEREAS, the Government’s Disclosure Material in this case may include confidential

information (“Confidential Information”) that may (i) affect the privacy and confidentiality of

individuals; or (ii) expose sensitive personal information;

       WHEREAS, the entry of a protective order in this case will permit the Government to

produce expeditiously Disclosure Material without further litigation or the need for substantial

redactions, and will afford the defense prompt access to such materials, in substantially unredacted

form, which will facilitate the preparation of the defense;

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:
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       1.      Confidential Information so designated by the Government shall not be disclosed

by the defendant or defense counsel, including any successor counsel (collectively, “the defense”),

other than as set forth herein, and shall be used by the defense solely for purposes of defending

this action. All Confidential Information possessed by the defense shall be maintained in a safe

and secure manner.

       2.      Confidential Information may be disclosed by counsel to the following persons

(hereinafter, “Designated Persons”):

               (a) The defendant;

               (b) Personnel for whose conduct counsel is responsible, i.e., personnel employed

by or retained by counsel, as needed for purposes of defending this action;

               (c) Potential witnesses (“Potential Witnesses”) for purposes of defending this

action; and

               (d) Such other persons as hereafter may be authorized by the Court.

All Designated Persons to whom Confidential Information is disclosed in accordance with this

provision shall be subject to the terms of this Order. To the extent Confidential Information is

disclosed to any Designated Persons, defense counsel shall first provide each Designated Person

with a copy of this Order and instruct such Designated Persons that they are bound by the terms

of this Order. Defense counsel shall maintain a record of what information has been disclosed to

which such persons.

       3.      The Government may designate Disclosure Material as Confidential Information

by labeling such Disclosure Material as “Confidential.” In the event of any dispute as to the


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Government’s designation of particular Disclosure Material as Confidential Information, the

parties shall meet and confer, without prejudice to a subsequent application by defense counsel

seeking de-designation of such material by the Court. If the defense moves the Court for de-

designation of disputed material, the Government shall respond within seven days of the defense

filing, absent further Order of this Court. The Government shall bear the burden of establishing

good cause for its Confidential Information designation of the disputed materials. Absent a

contrary order of this Court, the Government’s designation of Disclosure Material as Confidential

Information shall be controlling.

        4.     The parties must comply with the Local Criminal Rules, including Rule 23.1, which

prohibits “the release of non-public information or opinion which a reasonable person would

expect to be disseminated by means of public communication . . . if there is a substantial likelihood

that such dissemination will interfere with a fair trial or otherwise prejudice the due administration

of justice.”

        5.     The parties shall not post any Confidential Information on any Internet site or

network site to which persons other than the parties hereto have access, and shall not disclose any

Confidential Information to the media or any other third party, except as set forth herein.

        6.     The Government may authorize, in writing, disclosure of Confidential Information

beyond that otherwise permitted by this Order without further Order of this Court.

        7.     This Order does not prevent the disclosure of any Confidential Information in any

hearing or trial held in this action, or to any judge or magistrate judge, for purposes of this action.

All filings should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.


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       8.      Except for Confidential Information that has been made part of the record of this

case, and subject to defense counsel’s obligation to retain client files under the Rules of

Professional Conduct, the defense shall return to the Government or securely destroy or delete all

Confidential Information, including the seized ESI Confidential Information, within 30 days of the

expiration of the period for direct appeal from any verdict in the above-captioned case; the period

of direct appeal from any order dismissing any of the charges in the above-captioned case; or the

granting of any motion made on behalf of the Government dismissing any charges in the above-

captioned case, whichever date is later. If Confidential Information is provided to any prospective

witnesses, counsel shall make reasonable efforts to seek the return or destruction of such materials.

       9.      This Order places no restriction on the defendant’s use or disclosure of ESI that

originally belonged to the defendant.




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